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                      Exhibit A
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                                              Terms of Service
       Terms of Service
                                                What’s in these terms?
       Paid Service Terms of Service

       Paid Service Usage Rules                 This index is designed to help you understand some of the
                                                key updates we’ve made to our Terms of Service (Terms).
       Collecting Society Notices
                                                We hope this serves as a useful guide, but please ensure
       Copyright Notices                        you read the Terms in full.

       Community Guidelines
                                                Welcome to YouTube!

                                                This section outlines our relationship with you. It includes
                                                a description of the Service, defines our Agreement, and
                                                names your service provider.

                                                Who May Use the Service?

                                                This section sets out certain requirements for use of the
                                                Service, and defines categories of users.

                                                Your Use of the Service

                                                This section explains your rights to use the Service, and
                                                the conditions that apply to your use of the Service. It also
                                                explains how we may make changes to the Service.


                                                Your Content and Conduct

                                                This section applies to users who provide Content to the
                                                Service. It defines the scope of the permissions that you
                                                grant by uploading your Content, and includes your
                                                agreement not to upload anything that infringes on
                                                anyone else’s rights.

                                                Account Suspension and Termination

                                                This section explains how you and YouTube may
                                                terminate this relationship.


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                                                About Software in the Service

                                                This section includes details about software on the
                                                Service.

                                                Other Legal Terms

                                                This section includes our service commitment to you. It
                                                also explains that there are some things we will not be
                                                responsible for.


                                                About this Agreement

                                                This section includes some further important details
                                                about our contract, including what to expect if we need to
                                                make changes to these Terms; or which law applies to
                                                them.




                                              Terms of Service
                                              Dated: January 5, 2022


                                              TERMS OF SERVICE

                                              Welcome to YouTube!
                                              Introduction
                                              Thank you for using the YouTube platform and the products,
                                              services and features we make available to you as part of the
                                              platform (collectively, the “Service”).

                                              Our Service

                                              The Service allows you to discover, watch and share videos
                                              and other content, provides a forum for people to connect,
                                              inform, and inspire others across the globe, and acts as a
                                              distribution platform for original content creators and
                                              advertisers large and small. We provide lots of information
                                              about our products and how to use them in our Help Center.

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                                              Among other things, you can find out about YouTube Kids, the
                                              YouTube Partner Program and YouTube Paid Memberships
                                              and Purchases (where available).You can also read all about
                                              enjoying content on other devices like your television, your
                                              games console, or Google Home.

                                              Your Service Provider


                                              The entity providing the Service is Google LLC, a company
                                              operating under the laws of Delaware, located at 1600
                                              Amphitheatre Parkway, Mountain View, CA 94043 (referred to
                                              as “YouTube”, “we”, “us”, or “our”). References to YouTube’s
                                              “Affiliates” in these terms means the other companies within
                                              the Alphabet Inc. corporate group (now or in the future).


                                              Applicable Terms
                                              Your use of the Service is subject to these terms, the YouTube
                                              Community Guidelines and the Policy, Safety and Copyright
                                              Policies which may be updated from time to time (together,
                                              this "Agreement"). Your Agreement with us will also include
                                              the Advertising on YouTube Policies if you provide advertising
                                              or sponsorships to the Service or incorporate paid promotions
                                              in your content. Any other links or references provided in
                                              these terms are for informational use only and are not part of
                                              the Agreement.

                                              Please read this Agreement carefully and make sure you
                                              understand it. If you do not understand the Agreement, or do
                                              not accept any part of it, then you may not use the Service.


                                              Who may use the Service?

                                              Age Requirements
                                              You must be at least 13 years old to use the Service; however,
                                              children of all ages may use the Service and YouTube
                                              Kids (where available) if enabled by a parent or legal guardian.

                                              Permission by Parent or Guardian




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                                              If you are under 18, you represent that you have your parent or
                                              guardian’s permission to use the Service. Please have them
                                              read this Agreement with you.

                                              If you are a parent or legal guardian of a user under the age of
                                              18, by allowing your child to use the Service, you are subject
                                              to the terms of this Agreement and responsible for your
                                              child’s activity on the Service. You can find tools and
                                              resources to help you manage your family’s experience on
                                              YouTube (including how to enable a child under the age of
                                              13 to use the Service and YouTube Kids) in our Help
                                              Center and through Google’s Family Link.

                                              Businesses
                                              If you are using the Service on behalf of a company or
                                              organisation, you represent that you have authority to act on
                                              behalf of that entity, and that such entity accepts this
                                              Agreement.


                                              Your Use of the Service

                                              Content on the Service
                                              The content on the Service includes videos, audio (for
                                              example music and other sounds), graphics, photos, text
                                              (such as comments and scripts), branding (including trade
                                              names, trademarks, service marks, or logos), interactive
                                              features, software, metrics, and other materials whether
                                              provided by you, YouTube or a third-party (collectively,
                                              "Content”).

                                              Content is the responsibility of the person or entity that
                                              provides it to the Service. YouTube is under no obligation to
                                              host or serve Content. If you see any Content you believe does
                                              not comply with this Agreement, including by violating the
                                              Community Guidelines or the law, you can report it to us.

                                              Google Accounts and YouTube Channels
                                              You can use parts of the Service, such as browsing and
                                              searching for Content, without having a Google account.
                                              However, you do need a Google account to use some

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                                              features. With a Google account, you may be able to like
                                              videos, subscribe to channels, create your own YouTube
                                              channel, and more. You can follow these instructions to
                                              create a Google account.


                                              Creating a YouTube channel will give you access to additional
                                              features and functions, such as uploading videos, making
                                              comments or creating playlists (where available). Here are
                                              some details about how to create your own YouTube channel.

                                              To protect your Google account, keep your password
                                              confidential. You should not reuse your Google account
                                              password on third-party applications. Learn more about
                                              keeping your Google account secure, including what to do if
                                              you learn of any unauthorized use of your password or Google
                                              account.

                                              Your Information
                                              Our Privacy Policy explains how we treat your personal data
                                              and protect your privacy when you use the Service. The
                                              YouTube Kids Privacy Notice provides additional information
                                              about our privacy practices that are specific to YouTube Kids.

                                              We will process any audio or audiovisual content uploaded by
                                              you to the Service in accordance with the YouTube Data
                                              Processing Terms, except in cases where you uploaded such
                                              content for personal purposes or household activities. Learn
                                              More.

                                              Permissions and Restrictions
                                              You may access and use the Service as made available to
                                              you, as long as you comply with this Agreement and
                                              applicable law. You may view or listen to Content for your
                                              personal, non-commercial use. You may also show YouTube
                                              videos through the embeddable YouTube player.

                                              The following restrictions apply to your use of the Service.
                                              You are not allowed to:




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                                                1. access, reproduce, download, distribute, transmit,
                                                   broadcast, display, sell, license, alter, modify or otherwise
                                                   use any part of the Service or any Content except: (a) as
                                                   expressly authorized by the Service; or (b) with prior
                                                   written permission from YouTube and, if applicable, the
                                                   respective rights holders;

                                                2. circumvent, disable, fraudulently engage with, or
                                                   otherwise interfere with any part of the Service (or
                                                   attempt to do any of these things), including security-
                                                   related features or features that (a) prevent or restrict the
                                                   copying or other use of Content or (b) limit the use of the
                                                   Service or Content;

                                                3. access the Service using any automated means (such as
                                                   robots, botnets or scrapers) except (a) in the case of
                                                   public search engines, in accordance with YouTube’s
                                                   robots.txt file; or (b) with YouTube’s prior written
                                                   permission;

                                                4. collect or harvest any information that might identify a
                                                   person (for example, usernames or faces), unless
                                                   permitted by that person or allowed under section (3)
                                                   above;

                                                5. use the Service to distribute unsolicited promotional or
                                                   commercial content or other unwanted or mass
                                                   solicitations;

                                                6. cause or encourage any inaccurate measurements of
                                                   genuine user engagement with the Service, including by
                                                   paying people or providing them with incentives to
                                                   increase a video’s views, likes, or dislikes, or to increase a
                                                   channel’s subscribers, or otherwise manipulate metrics in
                                                   any manner;

                                                7. misuse any reporting, flagging, complaint, dispute, or
                                                   appeals process, including by making groundless,
                                                   vexatious, or frivolous submissions;

                                                8. run contests on or through the Service that do not comply
                                                   with YouTube’s contest policies and guidelines;



https://www.youtube.com/t/terms                                                                               6/16
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                                                9. use the Service to view or listen to Content other than for
                                                   personal, non-commercial use (for example, you may not
                                                   publicly screen videos or stream music from the Service);
                                                   or

                                               10. use the Service to (a) sell any advertising, sponsorships,
                                                   or promotions placed on, around, or within the Service or
                                                   Content, other than those allowed in the Advertising on
                                                   YouTube policies (such as compliant product
                                                   placements); or (b) sell advertising, sponsorships, or
                                                   promotions on any page of any website or application
                                                   that only contains Content from the Service or where
                                                   Content from the Service is the primary basis for such
                                                   sales (for example, selling ads on a webpage where
                                                   YouTube videos are the main draw for users visiting the
                                                   webpage).


                                              Reservation

                                              Using the Service does not give you ownership of or rights to
                                              any aspect of the Service, including user names or any other
                                              Content posted by others or YouTube.

                                              Develop, Improve and Update the Service


                                              YouTube is constantly changing and improving the Service. As
                                              part of this continual evolution, we may make modifications
                                              or changes (to all or part of the Service) such as adding or
                                              removing features and functionalities, offering new digital
                                              content or services or discontinuing old ones. We may also
                                              need to alter or discontinue the Service, or any part of it, in
                                              order to make performance or security improvements, make
                                              changes to comply with law, or prevent illegal activities on or
                                              abuse of our systems. These changes may affect all users,
                                              some users or even an individual user. When the Service
                                              requires or includes downloadable software (such as the
                                              YouTube Studio application), that software may update
                                              automatically on your device once a new version or feature is
                                              available, subject to your device settings. If we make material
                                              changes that negatively impact your use of the Service, we’ll
                                              provide you with reasonable advance notice, except in urgent
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                                              situations such as preventing abuse, responding to legal
                                              requirements, or addressing security and operability issues.
                                              We’ll also provide you with an opportunity to export your
                                              content from your Google Account using Google Takeout,
                                              subject to applicable law and policies.


                                              Your Content and Conduct

                                              Uploading Content

                                              If you have a YouTube channel, you may be able to upload
                                              Content to the Service. You may use your Content to promote
                                              your business or artistic enterprise. If you choose to upload
                                              Content, you must not submit to the Service any Content that
                                              does not comply with this Agreement (including the YouTube
                                              Community Guidelines) or the law. For example, the Content
                                              you submit must not include third-party intellectual property
                                              (such as copyrighted material) unless you have permission
                                              from that party or are otherwise legally entitled to do so. You
                                              are legally responsible for the Content you submit to the
                                              Service. We may use automated systems that analyze your
                                              Content to help detect infringement and abuse, such as spam,
                                              malware, and illegal content.

                                              Rights you Grant


                                              You retain ownership rights in your Content. However, we do
                                              require you to grant certain rights to YouTube and other users
                                              of the Service, as described below.


                                              License to YouTube

                                              By providing Content to the Service, you grant to YouTube a
                                              worldwide, non-exclusive, royalty-free, sublicensable and
                                              transferable license to use that Content (including to
                                              reproduce, distribute, prepare derivative works, display and
                                              perform it) in connection with the Service and YouTube’s (and
                                              its successors' and Affiliates') business, including for the
                                              purpose of promoting and redistributing part or all of the
                                              Service.

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                                              License to Other Users


                                              You also grant each other user of the Service a worldwide,
                                              non-exclusive, royalty-free license to access your Content
                                              through the Service, and to use that Content, including to
                                              reproduce, distribute, prepare derivative works, display, and
                                              perform it, only as enabled by a feature of the Service (such
                                              as video playback or embeds). For clarity, this license does
                                              not grant any rights or permissions for a user to make use of
                                              your Content independent of the Service.

                                              Duration of License


                                              The licenses granted by you continue for a commercially
                                              reasonable period of time after you remove or delete your
                                              Content from the Service. You understand and agree, however,
                                              that YouTube may retain, but not display, distribute, or
                                              perform, server copies of your videos that have been removed
                                              or deleted.


                                              Right to Monetize


                                              You grant to YouTube the right to monetize your Content on
                                              the Service (and such monetization may include displaying
                                              ads on or within Content or charging users a fee for access).
                                              This Agreement does not entitle you to any payments.
                                              Starting November 18, 2020, any payments you may be
                                              entitled to receive from YouTube under any other agreement
                                              between you and YouTube (including for example payments
                                              under the YouTube Partner Program, Channel memberships or
                                              Super Chat) will be treated as royalties. If required by law,
                                              Google will withhold taxes from such payments.


                                              Removing Your Content

                                              You may remove your Content from the Service at any time.
                                              You also have the option to make a copy of your Content
                                              before removing it. You must remove your Content if you no
                                              longer have the rights required by these terms.



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                                              Removal of Content By YouTube

                                              If any of your Content (1) is in breach of this Agreement or (2)
                                              may cause harm to YouTube, our users, or third parties, we
                                              reserve the right to remove or take down some or all of such
                                              Content in our discretion. We will notify you with the reason
                                              for our action unless we reasonably believe that to do so: (a)
                                              would breach the law or the direction of a legal enforcement
                                              authority or would otherwise risk legal liability for YouTube or
                                              our Affiliates; (b) would compromise an investigation or the
                                              integrity or operation of the Service; or (c) would cause harm
                                              to any user, other third party, YouTube or our Affiliates. You
                                              can learn more about reporting and enforcement, including
                                              how to appeal on the Troubleshooting page of our Help
                                              Center.


                                              Community Guidelines Strikes

                                              YouTube operates a system of “strikes” in respect of Content
                                              that violates the YouTube Community Guidelines. Each strike
                                              comes with varying restrictions and may result in the
                                              permanent removal of your channel from YouTube. A full
                                              description of how a strike affects your channel is available
                                              on the Community Guidelines Strikes Basics page. If you
                                              believe that a strike has been issued in error, you may appeal
                                              here.

                                              If your channel has been restricted due to a strike, you must
                                              not use another channel to circumvent these restrictions.
                                              Violation of this prohibition is a material breach of this
                                              Agreement and Google reserves the right to terminate your
                                              Google account or your access to all or part of the Service.


                                              Copyright Protection

                                              We provide information to help copyright holders manage
                                              their intellectual property online in our YouTube Copyright
                                              Center. If you believe your copyright has been infringed on the
                                              Service, please send us a notice.


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                                              We respond to notices of alleged copyright infringement
                                              according to the process in our YouTube Copyright Center,
                                              where you can also find information about how to resolve a
                                              copyright strike. YouTube's policies provide for the
                                              termination, in appropriate circumstances, of repeat
                                              infringers’ access to the Service.


                                              Account Suspension & Termination

                                              Terminations by You
                                              You may stop using the Service at any time. Follow these
                                              instructions to delete the Service from your Google Account,
                                              which involves closing your YouTube channel and removing
                                              your data. You also have the option to download a copy of
                                              your data first.


                                              Terminations and Suspensions by YouTube

                                              YouTube reserves the right to suspend or terminate your
                                              Google account or your access to all or part of the Service if
                                              (a) you materially or repeatedly breach this Agreement; (b) we
                                              are required to do so to comply with a legal requirement or a
                                              court order; or (c) we reasonably believe that there has been
                                              conduct that creates (or could create) liability or harm to any
                                              user, other third party, YouTube or our Affiliates.

                                              Notice for Termination or Suspension


                                              We will notify you with the reason for termination or
                                              suspension by YouTube unless we reasonably believe that to
                                              do so: (a) would violate the law or the direction of a legal
                                              enforcement authority; (b) would compromise an
                                              investigation; (c) would compromise the integrity, operation or
                                              security of the Service; or (d) would cause harm to any user,
                                              other third party, YouTube or our Affiliates.

                                              Effect of Account Suspension or Termination


                                              If your Google account is terminated or your access to the
                                              Service is restricted, you may continue using certain aspects

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                                              of the Service (such as viewing only) without an account, and
                                              this Agreement will continue to apply to such use. If you
                                              believe that the termination or suspension has been made in
                                              error, you can appeal using this form.


                                              About Software in the Service
                                              Downloadable Software
                                              When the Service requires or includes downloadable software
                                              (such as the YouTube Studio application), unless that
                                              software is governed by additional terms which provide a
                                              license, YouTube gives you a personal, worldwide, royalty-free,
                                              non-assignable and non-exclusive license to use the software
                                              provided to you by YouTube as part of the Service. This
                                              license is for the sole purpose of enabling you to use and
                                              enjoy the benefit of the Service as provided by YouTube, in the
                                              manner permitted by this Agreement. You are not allowed to
                                              copy, modify, distribute, sell, or lease any part of the software,
                                              or to reverse-engineer or attempt to extract the source code
                                              of that software, unless laws prohibit these restrictions or you
                                              have YouTube’s written permission.

                                              Open Source
                                              Some software used in our Service may be offered under an
                                              open source license that we make available to you. There may
                                              be provisions in an open source license that expressly
                                              override some of these terms, so please be sure to read those
                                              licenses.


                                              Other Legal Terms

                                              Warranty Disclaimer
                                              OTHER THAN AS EXPRESSLY STATED IN THIS AGREEMENT
                                              OR AS REQUIRED BY LAW, THE SERVICE IS PROVIDED “AS IS”
                                              AND YOUTUBE DOES NOT MAKE ANY SPECIFIC
                                              COMMITMENTS OR WARRANTIES ABOUT THE SERVICE. FOR
                                              EXAMPLE, WE DON’T MAKE ANY WARRANTIES ABOUT: (A)
                                              THE CONTENT PROVIDED THROUGH THE SERVICE; (B) THE
                                              SPECIFIC FEATURES OF THE SERVICE, OR ITS ACCURACY,
                                              RELIABILITY, AVAILABILITY, OR ABILITY TO MEET YOUR
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                                              NEEDS; OR (C) THAT ANY CONTENT YOU SUBMIT WILL BE
                                              ACCESSIBLE ON THE SERVICE.

                                              Limitation of Liability


                                              EXCEPT AS REQUIRED BY APPLICABLE LAW, YOUTUBE, ITS
                                              AFFILIATES, OFFICERS, DIRECTORS, EMPLOYEES
                                              AND AGENTS WILL NOT BE RESPONSIBLE FOR ANY LOSS OF
                                              PROFITS, REVENUES, BUSINESS OPPORTUNITIES,
                                              GOODWILL, OR ANTICIPATED SAVINGS; LOSS OR
                                              CORRUPTION OF DATA; INDIRECT OR CONSEQUENTIAL
                                              LOSS; PUNITIVE DAMAGES CAUSED BY:


                                                1. ERRORS, MISTAKES, OR INACCURACIES ON THE
                                                   SERVICE;

                                                2. PERSONAL INJURY OR PROPERTY DAMAGE RESULTING
                                                   FROM YOUR USE OF THE SERVICE;

                                                3. ANY UNAUTHORIZED ACCESS TO OR USE OF THE
                                                   SERVICE;

                                                4. ANY INTERRUPTION OR CESSATION OF THE SERVICE;

                                                5. ANY VIRUSES OR MALICIOUS CODE TRANSMITTED TO
                                                   OR THROUGH THE SERVICE BY ANY THIRD PARTY;

                                                6. ANY CONTENT WHETHER SUBMITTED BY A USER OR
                                                   YOUTUBE, INCLUDING YOUR USE OF CONTENT; AND/OR

                                                7. THE REMOVAL OR UNAVAILABILITY OF ANY CONTENT.

                                              THIS PROVISION APPLIES TO ANY CLAIM, REGARDLESS OF
                                              WHETHER THE CLAIM ASSERTED IS BASED ON WARRANTY,
                                              CONTRACT, TORT, OR ANY OTHER LEGAL THEORY.


                                              YOUTUBE AND ITS AFFILIATES’ TOTAL LIABILITY FOR ANY
                                              CLAIMS ARISING FROM OR RELATING TO THE SERVICE IS
                                              LIMITED TO THE GREATER OF: (A) THE AMOUNT OF
                                              REVENUE THAT YOUTUBE HAS PAID TO YOU FROM YOUR
                                              USE OF THE SERVICE IN THE 12 MONTHS BEFORE THE DATE
                                              OF YOUR NOTICE, IN WRITING TO YOUTUBE, OF THE CLAIM;
                                              AND (B) USD $500.

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                                              Indemnity

                                              To the extent permitted by applicable law, you agree to
                                              defend, indemnify and hold harmless YouTube, its Affiliates,
                                              officers, directors, employees and agents, from and against
                                              any and all claims, damages, obligations, losses, liabilities,
                                              costs or debt, and expenses (including but not limited to
                                              attorney's fees) arising from: (i) your use of and access to the
                                              Service; (ii) your violation of any term of this Agreement; (iii)
                                              your violation of any third party right, including without
                                              limitation any copyright, property, or privacy right; or (iv) any
                                              claim that your Content caused damage to a third party. This
                                              defense and indemnification obligation will survive this
                                              Agreement and your use of the Service.

                                              Third-Party Links
                                              The Service may contain links to third-party websites and
                                              online services that are not owned or controlled by YouTube.
                                              YouTube has no control over, and assumes no responsibility
                                              for, such websites and online services. Be aware when you
                                              leave the Service; we suggest you read the terms and privacy
                                              policy of each third-party website and online service that you
                                              visit.


                                              About this Agreement

                                              Changing this Agreement
                                              We may change this Agreement, for example, (1) to reflect
                                              changes to our Service or how we do business - for example,
                                              when we add new products or features or remove old ones,
                                              (2) for legal, regulatory, or security reasons, or (3) to prevent
                                              abuse or harm.


                                              If we materially change this Agreement, we’ll provide you with
                                              reasonable advance notice and the opportunity to review the
                                              changes, except (1) when we launch a new product or feature,
                                              or (2) in urgent situations, such as preventing ongoing abuse
                                              or responding to legal requirements. If you don’t agree to the
                                              new terms, you should remove any Content you uploaded and
                                              stop using the Service.

https://www.youtube.com/t/terms                                                                              14/16
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                                              Continuation of this Agreement
                                              If your use of the Service ends, the following terms of this
                                              Agreement will continue to apply to you: “Other Legal Terms”,
                                              “About This Agreement”, and the licenses granted by you will
                                              continue as described under “Duration of License”.

                                              Severance
                                              If it turns out that a particular term of this Agreement is not
                                              enforceable for any reason, this will not affect any other
                                              terms.

                                              No Waiver
                                              If you fail to comply with this Agreement and we do not take
                                              immediate action, this does not mean that we are giving up
                                              any rights that we may have (such as the right to take action
                                              in the future).

                                              Interpretation

                                              In these terms, “include” or “including” means “including but
                                              not limited to,” and any examples we give are for illustrative
                                              purposes.


                                              Governing Law
                                              All claims arising out of or relating to these terms or the
                                              Service will be governed by California law, except California’s
                                              conflict of laws rules, and will be litigated exclusively in the
                                              federal or state courts of Santa Clara County, California, USA.
                                              You and YouTube consent to personal jurisdiction in those
                                              courts.

                                              Limitation on Legal Action

                                              YOU AND YOUTUBE AGREE THAT ANY CAUSE OF ACTION
                                              ARISING OUT OF OR RELATED TO THE SERVICES MUST
                                              COMMENCE WITHIN ONE (1) YEAR AFTER THE CAUSE OF
                                              ACTION ACCRUES. OTHERWISE, SUCH CAUSE OF ACTION IS
                                              PERMANENTLY BARRED.

                                              Effective as of January 5, 2022 (view previous version)

https://www.youtube.com/t/terms                                                                             15/16
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